            Case 1:06-cr-00313-DAD Document 456 Filed 05/31/13 Page 1 of 3


Prob 12B                    UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                            (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         NAVY RIEL

Docket Number:                         1:06CR00313-004 LJO

Offender Address:                      Fresno, California

Judicial Officer:                      Honorable Lawrence J. O'Neill
                                       United States District Judge
                                       Fresno, California

Original Sentence Date:                11/20/2009

Original Offense:                      21 USC 846 and 841(a)(1) - Conspiracy to Manufacture and
                                       Distribute Marijuana
                                       (CLASS A FELONY)

Original Sentence:                     46 months Bureau of Prisons; 60 months supervised release;
                                       $100 special assessment; mandatory drug testing

Special Conditions:                    1) Search; 2) Financial disclosure; 3) Drug/alcohol treatment;
                                       4) Drug/alcohol testing; 5) Pager/cellular phone restriction; 6)
                                       Aftercare co-payment; 7) Registration (Drug)

Type of Supervision:                   Supervised Release

Supervision Commenced:                 05/04/2012

Assistant U.S. Attorney:               Kathleen A. Servatius                 Telephone: (559) 497-4000

Defense Attorney:                      Anthony Capozzi                       Telephone: (559) 221-0200

Other Court Action:                    None




                                                                                                               R ev. 02/2012
                                                                                 V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                                                                                 (M O D IFIC A T IO N ).W P D
         Case 1:06-cr-00313-DAD Document 456 Filed 05/31/13 Page 2 of 3


RE:    NAVY RIEL
       Docket Number: 1:06CR00313-004 LJO
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER




                                  PETITIONING THE COURT

To modify the conditions of supervision as follows:


       As directed by the probation officer, the defendant shall complete up to 20 hours of
       unpaid community service per week until employed for at least 30 hours per week or
       participating in a previously approved educational or vocational program.


Justification:     Since commencement of supervision the offender has never maintained regular
employment, although he has maintained compliance in all other aspects. The addition of the above
condition will help the offender add some much needed work experience to his resume.


                                      Respectfully submitted,

                                       /s/ Adam E. Tunison

                                         Adam E. Tunison
                                  United States Probation Officer
                                    Telephone: (559) 499-5712

DATED:           May 29, 2013
                 Fresno, California
                 AET/mse


REVIEWED BY:              /s/ Hubert J. Alvarez
                        HUBERT J. ALVAREZ
                        Supervising United States Probation Officer




                                                                                                        R ev. 02/2012
                                                                          V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                                2                                         (M O D IFIC A T IO N ).W P D
          Case 1:06-cr-00313-DAD Document 456 Filed 05/31/13 Page 3 of 3


RE:      NAVY RIEL
         Docket Number: 1:06CR00313-004 LJO
         PETITION TO MODIFY THE CONDITIONS OR TERM
         OF SUPERVISION WITH CONSENT OF THE OFFENDER




THE COURT ORDERS:

(x)      Modification approved as recommended.


cc:      United States Probation
         Kathleen A. Servatius, Assistant United States Attorney
         Anthony Capozzi, Assistant Federal Defender

IT IS SO ORDERED.

Dated:      May 31, 2013                     /s/ Lawrence J. O'Neill B9ed48
                                           UNITED STATES DISTRICT JUDGE




                                                                                                 R ev. 02/2012
                                                                   V IO LA T IO N __P E T IT IO N (P R O B 12B )
                                                3                                  (M O D IFIC A T IO N ).W P D
